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      In The United States Court of Federal Claims
                                              No. 09-814C

                                        (Filed: May 6, 2011)
                                             __________

 PEW FOREST PRODUCTS,

                                 Plaintiff,

                          v.

 THE UNITED STATES,

                                 Defendant.

                                               _________

                                                ORDER
                                               _________

       On May 5, 2011, a status conference was held in this case. Participating in this
conference were Mr. Robert Tuerck, for plaintiff, and Ms. Ellen Mary Lynch, for defendant.
Based on discussions during the conference, it was agreed that:

       1.       On or before May 13, 2011, defendant shall file its motion for
                summary judgment;

       2.       On or before June 13, 2011, plaintiff shall file its response and
                partial cross-motion for summary judgment;

       3.       On or before June 30, 2011, defendant shall file its response to
                plaintiff’s cross-motion for summary judgment and its reply to
                plaintiff’s response; and

       4.       On or before July 18, 2011, plaintiff shall file its reply to
                defendant’s response.

       IT IS SO ORDERED.


                                                           s/ Francis M. Allegra
                                                           Francis M. Allegra
                                                           Judge
